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ASSIGNMENT:



The assignment to conduct an origin and cause investigation was received on April 4,

2022, from Martin Durkin Esq. of Durkin Law Offices P.C. The fire to be investigated

occurred on December 14, 2017, at the commercial structure located at 1-3 West

Independence St. Shamokin, PA 17872. The fire was reported to emergency services by

Victoria Eckbold at 0134 hrs. This investigation was completed using the provided

photographs, reports, and depositions along with a physical site visit, and interviews.



SCENE DESCRIPTION & EXAMINATION:



The fire loss is a three story multiuse structure of Type 3 ordinary construction which

was utilized as a commercial structure with multiple occupancies. The structure was

covered by both a flat rolled rubber roof and a common asphalt shingle roof on the

pitched section. The structure measured approx. 80’W x 180’D and received electricity

by way of an overhead drop. The overhead drop provided power to multiple breaker and

fuse panels located within the basement of the structure. The structure was heated by a
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natural gas fired hot water boiler which was also located within the basement. The

structure was equipped with a metal fire escape on the “D” (right) side of the structure

and the main entrance to the structure was located on side “A” (front). At the time of the

discovery of the fire the structure was not physically occupied by any known persons.



A systematic fire scene examination was conducted through the use of photographs

provided by multiple sources, along with interviews of first responders as well as fire

investigation reports from both public and private entities.



The exterior scene investigation began with an examination of photographs supplied by

Fire Chief Steve Jeffries and Deputy Chief Ken Pilkus. These photographs show the fire

progression within the structure shortly after their arrival and as the fire progresses. Side

“A” (front) is identified as the entrance area to the “Fun Sop” on East Independence St.

Side “A” exhibited heavy smoke ventilation by way of the 3rd floor window opening as

well as fire visible venting through the roof. Deputy Chief Pilkus’s photograph shows

visible fire in the common hallway leading to the stairway to the upper levels. Side” B”

(left) is identified as the wall along the alley leading from East Independence St., and

West Commerce St. Side “B” has no window or door openings, and no visible fire

damage was observed. Side “C” (rear) is identified as the wall at West Commerce St. The

only visible damage to side “C” is at the 3rd floor window openings which was the result

of fire ventilation. Side “D” (right) is identified as the wall along North 8th St. The initial

photographs show smoke venting from the 2nd and 3rd floor window openings, but no

visible fire. Photographs of this wall after the fire was extinguished show a collapse of
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the front section of wall into the street. After examining all of the photographs provided

for this loss it was clear that this fire began within the structure.



The interior scene examination began with an examination of photographs supplied by

fire personnel and fire investigators who physically examined the fire scene, as well as

interviews with Deputy Chief Ken Pilkus who was inside the structure during the initial

fire attack. The interior scene examination was limited due to the partial collapse of the

structure as a result of fire damage. Deputy Chief Pilkus along with Firefighters Jason

Molzon and Kevin Hein Jr. made the initial entry into the structure to attack the only

visible fire on the first floor of the “Fun Shop” entrance on East Independence St. The

photograph taken by Deputy Chief Pilkus clearly shows heavy fire in the common

hallway at the stairway leading to the upper floors. Post fire photographs clearly indicate

a sustained fire in the stairway which compromised the structural integrity of the stairs

above resulting in their collapse. Photographs taken from above the structure revealed

that the stairway structure was completely consumed at the “B” side wall, and a “clean

burn” of the soot deposits indicate an extremely hot sustained fire on the stairs above the

main level. The photographs taken from the raised fire department aerial ladder also show

that the 2nd and 3rd floor structure to the rear of the staircase is fire damaged but intact.

The examination of photographs taken during the demolition of the structure show that

the “D” side of the structure suffered much less damage than the “B” side where the

staircase was located. Photographs taken by the initial origin & cause investigators

identify high fire damage along the ceiling of the hallway at the entrance to the staircase

leading to the upper levels. The high fire damage identifies the fire origin as the stairs

leading to the upper floors. I continued to examine the photographs provided as part of
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this investigation and found that the wood structural members that collapsed from the

2nd and 3rd floor stairs were heavily charred indicating a sustained fire in the stairway. I

continued to examine the photographs and found no indications of a fire origin except at

the staircase leading from the main level to the upper floors.



After determining that the fire originated within the staircase leading from the main level

to the upper levels, I examined the photographs, interviews and examinations under oath

to identify what competent ignition sources were present within the staircase to initiate

this fire. I examined the report authored by Alex Profka who was the initial investigator

assigned by the Brethren Mutual Insurance Co. Mr. Profka notes that he physically

examined the debris field in the collapse zone and found no evidence of electrical failure

in the staircase. Mr. Profka’s report indicates that he returned to the fire scene on

December 18, 2017 and met with Shamokin Police Officer Ray Siko, Pennsylvania State

Police Fire Marshal’s Kirk Renn, and Vickie Spencer, as well as Dauphin County

Detective Dennis Woodring. Dennis Woodring is the handler for accelerant canine

(Locke). Mr. Profka’s report and photographs identify canine Locke alerting to the

presence of ignitable liquids at the entrance to the staircase on the main level. Canine

Locke also alerted to the presence of ignitable liquids in the debris field beneath the

collapsed staircase. Three separate samples of debris were taken from the areas where

Locke alerted. These three samples were placed into clean metal cans and were removed

to the exterior of the structure. Photographs provided indicate that Detective Woodring

set up a “can test” for canine Locke in which he placed the cans of recovered samples

along with several cans of debris known to be free of ignitable liquids. The photograph’s

show canine Locke alerting to the cans containing the debris samples removed from the
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fire scene. The alert by canine Locke indicated that the fire debris samples did contain

ignitable liquids from the areas identified at the fire origin, and the debris field. Deputy

Fire Chief Ken Pilkus along with two other firefighters made the initial attempt to

extinguish the fire found in the staircase. My interview with Deputy Chief Pilkus

revealed that there was heavy fire on the stairs leading to the 2nd level after he forced

entry into the locked doors on the “A” side of the structure. Deputy Chief Pilkus related

that the two firefighters with him were controlling the 1 ¾ inch hose line and were

dousing the fire on the stairs. Deputy Chief Pilkus related that they were able to knock

down the fire on the stairs initially, but it re-ignited three times before their hose line was

severed by falling glass. The reignition of the fire on the stairs was likely the result of the

reignition of vapors from an ignitable liquid on the stairs. Deputy Chief Pilkus related

that the photograph that he took of the fire at the staircase was after the 3rd reignition. On

December 14, 2017 Trooper Vickie Spencer interviewed Stephen Bokunewicz who was a

member of the Masonic Lodge which rented the entire 3rd floor of the building.

Bokunewicz told Trooper Spencer that he and several other members were at the building

on the night of December 13, 2017. Bokunewicz told Trooper Spencer that the meeting

ended at approx. 2130hrs, and the group exited, locking the doors as they left.

Bokunewicz told Trooper Spencer that there was no one around when they left and there

was no indication of anything out of the ordinary. Examinations under oath of Clayton

Andrews (Building Owner) and Chris Swolensky (Brother of Clayton Andrews) revealed

that the stairway where the fire originated consisted of wood steps covered by rubber

matting. Prior to the fire the rubber matting was removed exposing the bare wood. The

exposed bare wood would have allowed an ignitable liquid to penetrate into the fibers of

the stairs. The reignition of the steps observed by firefighters is likely the result of the
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ignitable liquid vapors continuing to emit from within the exposed steps. After a careful

evaluation of all of the photographs, witness statements, examinations under oath and the

positive alert from the accelerant canine it is my opinion within a reasonable degree of

scientific certainty that this fire is incendiary in nature and a case of Arson.



INTERVIEWS:



Chief Steve Jeffries, Shamokin Fire Dept. Ph: (570-648-1151 was interviewed on May

6,2022 at the Shamokin Police Headquarters. Chief Jeffries related that he was home

when the dispatch came in for this working fire. Chief Jeffries related that when he

stepped outside his home, he could see a glow in the sky and immediately issued a 2nd

alarm. Chief Jeffries related that he picked up Deputy Chief Ken Pilkus and they

responded to the fire scene together. Upon arriving at the fire scene Chief Jeffries did an

immediate size up of the situation and found visible fire in the first floor hallway and

heavy smoke coming from the “AB” 2nd and 3rd floor windows. Chief Jeffries related that

the remainder of the building was heavily charged with dark smoke. Chief Jeffries related

that Deputy Chief Pilkus, and two firemen grabbed a 1 3/4” hose line and forced entry to

the main level by way of the East Independence doorway. Chief Jeffries related that the

line team led by Pilkus were attempting to extinguish a large fire in the stairway when

glass from windows above fell to the ground severing the fire hose. Chief Jeffries related

that the fire began blowing from the 2nd and 3rd floor windows on the “AB” side and he

evacuated the fire crews and began to attack the fire from the exterior. Chief Jeffries

related that the fire grew quickly, and they were finally able to extinguish the fire with

master streams and aerial hose streams. Chief Jeffries related that during the firefighting
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efforts the “AD” wall collapsed into the street, and the stairway along the “AB” side

collapsed into the basement.



Deputy Fire Chief Ken Pilkus, Shamokin Fire Department Ph: (570)648-1151 was

interviewed on May 6, 2022 at the Shamokin Police Headquarters. Deputy Chief Pilkus

related that upon dispatch he was picked up by Chief Steve Jeffries and they proceeded

directly to the fire scene. Deputy Chief Pilkus related that he walked around the building

conducting a fire scene size up to identify the fire source within the structure. Deputy

Chief Pilkus related that the only fire found on the main level was in the common

hallway at the East Independence St. (Side “A”). Deputy Chief Pilkus related that he

directed two firemen to charge a hose line and after forcing entry through the front doors

of the building they made entry into the common hallway. Deputy Chief Pilkus related

that once in the common hallway he observed heavy fire in the stairway leading to the

upper floors of the structure. Deputy Chief Pilkus related that the two firemen on the 1

¾” line began to douse the flames on the stairs leading to the 2nd level and were

successful in knocking down the fire. Deputy Chief Pilkus related that as they continued

to put water onto the fire in the stairway the stairs reignited, and his firefighters had to put

the fire on the lower stairs out again. Deputy Chief Pilkus related that his firefighters

reported heavy fire in the stairway above them and as they continued to put water up into

the stairwell the stairs at the bottom of the stairwell reignited a 2nd time. Deputy Chief

Pilkus related that the firefighters put the lower fire out again and continued to douse the

stairwell until they lost water pressure and evacuated the building. Deputy Chief Pilkus

related that when he first approached the doorway on East Independence St. the glass of

the doors was lightly soot covered and he could clearly see the fire coming from the
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stairway leading to the upper levels. Deputy Chief Pilkus related that he thought it was

highly unusual that the fire on the lower stairs kept reigniting.



Raymond Siko, Chief of Police, Shamokin Borough was interviewed on May 6, 2022.

Chief Siko related that he was the officer assigned to conduct the criminal investigation

of this fire for the Shamokin Police Department. Chief Siko related that Clayton Andrews

bought the building in August 2017 for $ 45, 000 cash, and then insured the building for

over $3 million. Chief Siko related that he was present and assisted Trooper Vickie

Spencer (PSP Fire Marshal) with her origin and cause investigation at the fire scene.

Chief Siko related that he was in agreement with Trooper Spencer that the fire originated

in the stairwell leading to the upper floors and that an ignitable liquid was used to

enhance the spread and intensity of the fire. Chief Siko related that he was also present

when Dauphin County Detective Dennis Woodring and his accelerant canine (Locke)

examined the scene for the presence of ignitable liquids. Chief Siko related that he

observed canine (Locke) indicate the presence of ignitable liquids at the stairwell

entrance on the main level, and in debris from the stairwell collapse. Chief Siko related

that he took custody of the debris samples secured from the fire scene and submitted

them to the Pennsylvania State Police Lab for testing. Chief Siko related that he

conducted interviews with Clayton Andrews regarding the circumstances surrounding

this fire and offered Clayton Andrews an opportunity to take a polygraph examination.

Chief Siko related that Clayton Andrews refused the polygraph examination but produced

a private (CVSA) (Voice Stress Analysis) to clear him from suspicion. Chief Siko related

that he believes that the circumstances surrounding the fire and the amount of insurance

on the building are very suspicious and his investigation continues.
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Corey Pilkus (Masonic Lodge Member) Ph: (570)441-7027 was interviewed by

telephone. Corey related that he is a member of the Masonic Lodge which occupied the

entire 3rd floor of the subject fire building. Corey related that on the night prior to the fire

he and other members attended a meeting which ended at 2130hrs. Corey related that the

only heat to their floor of the building came from the gas boiler in the basement. Corey

related that for the two weeks preceding the fire the heat was not working. Corey related

that he would occasionally detect a slight odor of natural gas but was unsure of its source.

Corey related that he remembers the new owners stripping the asbestos tiles from the

stairs in the weeks prior to the fire, but never detected any odors form the chemicals

being used. Corey related that on the night prior to the fire he did not smell smoke or

notice anything else out of the ordinary. Corey related that he did notice buckets of

material and tiles in the 1st floor hallway, and thought the buckets were white with black

letters. Corey related that the tops were on the buckets, but he had no idea what they

contained.



EXAMINATIONS UNDER OATH REVIEWED:



Clayton Andrews, 1712 West Norwegian St., Pottsville, PA 17901 PH: (570) 573-1738

submitted to an examination under oath on January 16,2018 at the Ramada Inn in

Pottsville, PA. Clayton Andres was examined by Attorney Martin Durkin Esq., on behalf

of the Brethren Mutual Insurance Co. Clayton Andrews is a W/M who was 48 years of

age at the time of the examination. Clayton Andrews is employed by Miners Auto Sales
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LLC which he owns with his brother Christopher Swolensky. Clayton also owns

several other properties with his brother Chris. Clayton purchased the property at 1 West

Independence St in August 2017 for the sum of $5,000. Clayton owns the property

independently of his brother and paid by cashier’s check. Clayton insured the building

with Brethren Mutual Insurance for 42.8 million and then acquired an additional business

personal property policy for $500,000. At the time of the buildings purchase there were

four tenants including a Piece of Cake Bakery on the rear main level, Shamokin Chapter

of the Free Masons on the 3rd level, Geisinger Home Health & Hospice, and the

accounting office of Francis Sobotor. Clayton related that Geisinger’s lease had ended,

and they had moved out. Clayton related that the Piece of Cake Bakery would have been

gone at the end of the month. Clayton told the remaining tenants that he was the new

owner, and the rent would be increased. Clayton related that some of the tenants may

have keys, but he is the only person with all of the keys. Clayton submitted a water loss

claim in September 2017, after a hose was left on in a maintenance closet. Clayton denied

knowledge of who was using the hose. The water loss claim was settled for $45,000. Ten

thousand dollars was paid to Servpro to remediate the water loss and $35,00 was retained

by Clayton Andrews for repairs. Clayton admitted that he only used 4 to 5 thousand to

repair the water damage. Clayton related that he did no major repairs to the building after

its purchase but was going to remodel it and had the intention of listing the space for

commercial renters. Clayton detailed the repairs being made to the main stairway leading

to the upper levels. Clayton related that his brother Chris and younger brother Scott

Andrews used “Goof Off” to remove the glue from the rubber stair mats in preparation

for refinishing. Clayton related that he was last in the building 3 days prior to the fire and

had not been back until he was notified of the fire. Clayton related that he was notified of
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the fire by text and picked up his brother Chris before driving to Shamokin. Clayton

admitted that he never asked how the fire started, and that the only flammable liquids in

the building were kerosene in a 2nd or 3rd floor storage closet and Goff Off which was

used on the stairs. Clayton denies having set the fire and did not think he was under

investigation. Clayton obtained a private voice stress analysis after declining to take a

polygraph test which was offered by Chief Siko of the Shamokin police department.



Christopher Swolensky (Brother of Clayton Andrews) 429 Pottsville St., Minersville,

PA 17954. Christopher submitted to an examination under oath on March 2, 2018, at the

Schuylkill County Courthouse. Christopher was examined by Attorney Martin Durkin on

behalf of the Brethren Mutual Insurance Co. Christopher is the younger brother of

Clayton and is in business with him at the Miners Auto Sales in Minersville, PA.

Christopher does co-own building with Clayton, but had no financial interest in the

subject building. Christopher related that he was notified of the fire when his brother

(clayton) rang his doorbell at 2-3am. Christopher related that Clayton was a nervous

wreck and he decided to go to Shamokin with him because it was snowing. Christopher

admitted to being interviewed by the Shamokin Police and State Police but denied

knowing that there was an arson investigation. Christopher new that the building was

insured as he walked Clayton through the process because he had experience in real

estate. Christopher denied knowing what the insurance coverage amounts were.

Christopher admitted that he told Clayton to raise the rent for the Masons as they were

only paying $400 a month. Christopher related that he did do some work at the building

such as clearing out storage area and painting. Christopher also related that he helped

remove the rubber mats from the steps so that they could be stained. Christopher denied
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having keys to the building, and only gained entry after getting a key from Clayton.

Christopher related that he would lock up when he left and would return the key to

Clayton. Christopher admitted that he knew about the water claim from the hose but

denied any knowledge of the claim amount. Christopher questioned how the hose was left

on but does not thing the claim is fraudulent. Christopher detailed numerous insurance

claims he was involved in including a previous fire covered by Farmers Insurance Co.

Christopher related that he gave that money to his brother Scott Andrews for demolition

and to buy a new house. Christopher related that he did know Clayton was asked to take a

polygraph but had already told Clayton to get one prior to being asked by the police.

Christopher related that he and Clayton found a private lie detector test operator and he

went with Clayton for that examination. Christopher related that there are a lot of

valuable antiques in the building and the $500,00 personal property claim is justified.

Christopher claims that he does not know who is responsible for the fire but added that

there were no flammable liquids in the building, and they did not use “goof off” to

remove the glue from the stairs.




Scott Andrews (Brother of Clayton Andrews) 51 South Delaware Ave. Minersville, PA

17954 submitted to an examination under oath at the Schuylkill County Courthouse on

March 2, 2018. Scott was examined by Attorney Martin Durkin Esq on behalf of the

Brethren Mutual Insurance Co. Scott is the older brother of Clayton Andrews and

Christopher Swolensky. Scott related that he has no financial interest in the subject

building but had been to the building with Clayton before he bought it. Scott related that

he did have a prior fire claim with Farmers Fire Insurance Co., and the fire was a lint fire
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in the dryer. Scott related that he and Christopher did some painting and spackling in

the building prior to the fire when asked for help by Clayton. Scott related that Clayton

paid him twelve dollars an hour to do the work. Scott denies any knowledge of the water

damage claim submitted by Clayton prior to the fire. Scott related that he and Christopher

were working on the stairs about two weeks prior to the fire. Scott related that they used

“Goof Off” to remove the glue so they could refinish the stairs and make them look nice

for the Masons. Scott related that his brother showed him a text from the Masons that he

received the night prior to the fire. Scott related that they were complaining of no heat,

and though it was strange that the building burned several hours later. Scott denies

knowing how much Clayton paid for the building and related that he hasn’t been back to

the building since the fire. Scott related that he found out about the fire from Channel 16

news the morning after the fire. Scott related that he believed Clayton had insurance but

denied knowing how much. Scott related that he doesn’t talk business with his brothers.



MISCELLANEOUS:



   •   The weather reported at the time of the fire was light snow, with an East

       Northeast wind at 8mph and a temperature of 22 degrees (f). Data supplied by the

       Weather Underground.

   •   This fire was extinguished by the Shamokin City Fire Department under the

       command of Chief Steve Jeffries. Numerous other fire departments assisted with

       manpower and equipment.

   •   The criminal investigation into this matter is being handled by Police Chief Ray

       Siko of the Shamokin City Police Department.
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•   The initial 911 caller that reported this fire was identified as Victoria Eckbold

    of Shamokin, PA. Eckbold is deceased, and no interview information was

    available.

•   At the time of the fires discovery the building was locked and forced entry of the

    structure was made by fire personnel.

•   The evidentiary samples of fire debris which were secured from the fire scene

    were sent to the PA State Police Laboratory in Harrisburg, PA. These samples

    were tested in February 2018. The results of the testing were that no common

    ignitable liquids were identified in the samples. Accelerant canine (Locke) clearly

    indicated to the presence of ignitable liquids at the fire origin as well as in debris

    removed from the collapsed stairway. The unknown ignitable liquid was possibly

    diluted by the vast amounts of water used to extinguish this fire and the delay in

    recovering these samples. The PA state Police Laboratory report lists the possible

    reasons for not identifying the ignitable liquid. These reasons include “No

    ignitable liquid present” “An ignitable liquid present below quantities required for

    positive identification”, “or an uncommon ignitable liquid”. Given the alert by

    canine (Locke) on the debris as well as during a can test it is reasonable to

    conclude that an ignitable liquid was present but could not be identified by the

    laboratory.

•   The reignition of the fire on the stairs witnessed by Deputy Chief Ken Pilkus also

    lends verification of the presence of ignitable liquids at the fire origin. Ignitable

    liquids which would have permeated the wood steps are not water soluble and

    their vapors would continue to reignite when subjected to an ignition source.
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•   The interviews conducted along with the examinations under oath and

    photographs identify kerosene as the only ignitable liquid present in the building.

    The kerosene was identified by Clayton Andrews as being stored in a

    maintenance closet on the 2nd or 3rd floor. No ignitable liquids were stored in the

    area of origin.

•   No known electrical or mechanical issues in the hallway were identified by

    Clayton Andrews.

•   The only known mechanical issue in the building was a problem with the natural

    gas boiler in the basement. No fire damage was found in the basement and no

    evidence of a natural gas event was identified.

•   After reviewing the report authored by Alex Profka, I concur with his findings

    that identify the fire origin within the stairway leading to the upper levels of the

    structure. I also concur with Mr. Profka’ s opinion that an ignitable liquid was

    used to enhance the speed and destruction of this fire.

•   After reviewing the report authored by Trooper Vickie Spencer, I concur with her

    opinion that identifies the fire origin as the stairs leading to the upper levels of the

    structure. I also concur with Trooper Spencer’s opinion that an accelerant was

    used to enhance the fire in the stairwell. I do not concur with Trooper Spencer’s

    opinion that there is a potential electrical failure as there is no evidence to support

    an electrical malfunction as a fire cause.
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DETERMINATION:

Based upon the scene examination, witness statements, interviews, examinations under

oath, reports, photographs, and information to date it is my opinion within a reasonable

degree of scientific certainty that this fire did originate within the open stairway which

leads to the upper levels of the structure located at 1-3 East Independence St. Shamokin,

PA 17872. The investigation of this fire incident clearly identified the fire origin within

the stairway as evidenced by the rapid fire movement from the main level to the 3rd level.

The fire patterns and fire damage identified in the photographs provided identify a

sustained fire which resulted in the collapse of the stairs into the basement. The reignition

of previously extinguished wood stairs as witnessed by Deputy Chief Ken Pilkus along

with the identification of ignitable liquids by accelerant canine Locke indicate that an

accelerant was poured onto the stairs to enhance the spread and intensity of this fire. The

ignition source for this fire is a competent ignition source introduced to the ignitable

liquid soaked wood stairs located at the fire origin by the human hand. Examples of

competent ignition sources are lighter, match, candle, torch, etc. All reasonable accidental

ignition sources were eliminated during this investigation.

The conclusions drawn within this report are based on analysis of all information gained

from the scene examination and subsequent investigation. Information that may become

available at a later date may justify the modification of the results or conclusion at that

time.



Russel L. Andress, IAAI-CFI

American Fire Loss Analysis Inc.

(570) 814-1298
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Side “A” (front) of 1-3 East Independence St. Shamokin, PA 17872 (Google)




Side “B” (left) of 1-3 East Independence St. Shamokin, PA 17872 (Google)
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Side “C” (rear) of 1-3 East Independence St. Shamokin, PA 17872 (Google)




Side “D” (right) of 1-3 East Independence St. Shamokin, PA 17872 (Google)
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Side “D” (right) of 1-3 East Independence St. Shamokin, PA 17872 (Google)




Side “A” (front) of 1-3 East Independence St. Shamokin, PA 17872
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Side “B” (left) of 1-3 East Independence St. Shamokin, PA 17872




Side “C” (rear) of 1-3 East Independence St. Shamokin, PA 17872
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Side “D” (right) of 1-3 East Independence St. Shamokin, PA 17872
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Photograph of the smoke charged structure shortly after fire department arrival.
(Photograph provided by Chief Steve Jeffries)
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Photograph of the fire encountered in the main level as viewed by Deputy Chief Ken
Pilkus. The orange hose line that was cut by glass is seen on the sidewalk. This
photograph was taken by Deputy Chief Pilkus after the 3rd reignition of the steps at the
Fire origin. (Photograph provided by Deputy Chief Ken Pilkus)
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Photograph of the fire venting from the 2nd and 3rd floor front windows.
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Photograph taken from above the roof of the structure.




Photograph taken from above the structure. Red arrows indicate “clean burn” where the
stairwell was located before the collapse.
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Photograph showing the collapse of the stairs as viewed through the window openings.




Photograph of the common hallway on the main level. The red arrow identifies the
staircase leading to the upper levels.
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Photograph of the collapsed structure of the staircase. The red arrow identifies the
location of the stairs the reignited three times as viewed by Dep. Chief Pilkus.




Photograph of the deeply charred structural members from the collapsed staircase.
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Photograph of the clean burn on the interior “B” wall where the stairs were located.




Photograph of the “clean burn” on the 2nd and 3rd level staircase landings.
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Photograph of accelerant canine (Locke) alerting to the presence of ignitable liquids at
the base of the main level staircase.




Photograph of the fire debris secured from the fire origin.
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Photograph of a fire debris sample secured from the collapsed staircase debris.




Photograph of canine (Locke) alerting to the samples secured from the fire scene.
